Case 1:19-cv-01379-RBJ Document 5 Filed 05/14/19 USDC Colorado Page 1 of 3




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF COLORADO


 GEORGE N. MURR, Derivatively On Behalf Of
 Nominal Defendant MOLSON COORS                        Case No: 1:19-cv-01379- KLM
 BREWING COMPANY,

                              Plaintiff,
                       v.

 PETER H. COORS, PETER J. COORS,
 GEOFFREY E. MOLSON, ANDREW T.        JURY TRIAL DEMANDED
 MOLSON, MARK R. HUNTER, BETTY K.
 DEVITA, MARY LYNN FERGUSON-MCHUGH,
 FRANKLIN W. HOBBS, IAIN J.G. NAPIER,
 DOUGLAS D. TOUGH, LOUIS VACHON,
 ROGER G. EATON, H. SANFORD RILEY,
 CHARLES M. HERINGTON, and TRACEY I.
 JOUBERT,
                        Defendants,

 MOLSON COORS BREWING COMPANY,

                              Nominal Defendant.




        NOTICE OF RELATED CASES PURSUANT TO D.C.COLO. LCIVR 3.2


       Plaintiff George N. Murr, by and through his counsel of record, and for his Notice of

Related Cases Pursuant to D.C.Colo. LCivR 3.2, states the following:

       1.     Plaintiff George N. Murr filed the above captioned shareholder derivative action

on behalf of Molson Coors Brewing Company.

       2.     There exist three factually-related cases currently pending before this Court:

                                               1
Case 1:19-cv-01379-RBJ Document 5 Filed 05/14/19 USDC Colorado Page 2 of 3




               Schmier v. Molson Coors Brewing Company, et al., Case No. 1:19-cv-00898-

                STV;

               Segalis v. Molson Coors Brewing Company, et al., Case No. 1:19-cv-00455-

                DME-MEH; and

               Sussberg v. Molson Coors Brewing Company, et al., Case No. 1:19-cv-00514-

                KLM.


Respectfully submitted this 14th day of May, 2019


                                           BURG SIMPSON
                                           ELDREDGE HERSH & JARDINE, P.C.

                                           s/ Meghan C. Quinlivan
                                           Meghan C. Quinlivan
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                                           Attorney for Plaintiff




                                              2
Case 1:19-cv-01379-RBJ Document 5 Filed 05/14/19 USDC Colorado Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on May 14, 2019, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system.

                                             BURG SIMPSON
                                             ELDREDGE HERSH & JARDINE, P.C.

                                             s/ Meghan C. Quinlivan
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                                             Attorney for Plaintiff




                                                 3
